    Case 15-13369          Doc 110-1       Filed 12/02/15 Entered 12/02/15 13:00:38                   Desc Clerks
                                           Certificate of Tr Page 1 of 1
                                    UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MASSACHUSETTS


In Re:    Andre Bisasor                                            Chapter: 13
          Debtor                                                   Case No.: 15−13369 −jnf

                                                                   USDC Case No.: 15−13813



         CLERKS CERTIFICATION FOR TRANSMITTAL OF COMPLETE RECORD ON APPEAL




I, JAMES M. LYNCH, CLERK of the United States Bankruptcy Court for the District of Massachusetts, do hereby
certify that the annexed documents are copies of the original papers as described in the accompanying Designation
of Record and constitute the Record on Appeal in the case entitled and numbered In Re: Andre Bisasor, Case No.
15−13369.

The status of the transcript(s) is as follows:

The transcript(s) was not ordered by the Appellant for the hearing(s) held on is/are not available.




                                                           IN TESTIMONY WHEREOF, I HEREUNTO SET
                                                           MY HAND AND AFFIX THE SEAL OF THIS
                                                           COURT, AT BOSTON , IN THE DISTRICT OF
                                                           MASSACHUSETTS, THIS 2nd DAY OF DECEMBER
                                                           .


Date:12/2/15                                                       James M. Lynch
                                                                   Clerk, U.S. Bankruptcy Court


                                                                   By the Court,

                                                                   Leah Kaine
                                                                   Deputy Clerk
                                                                   617−748−5324
